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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 COREY BARNETT, Individually and On         Civil Action: 1:18-cv-1580 -TWP-TAB
 Behalf of All Others Similarly Situated,
                                            NOTICE OF VOLUNTARY
                             Plaintiff,     DISMISSAL

        vs.

 THE FINISH LINE, INC., GLENN S.
 LYON, TORRENCE BOONE, RICHARD P.
 CRYSTAL, CATHERINE A. LANGHAM,
 STEPHEN GOLDSMITH, WILLIAM
 P. CARMICHAEL, SAMUEL M. SATO, and
 FAISAL MASUD,

                             Defendants.
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        PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Corey Barnett

(“Plaintiff”) files this notice of voluntary dismissal pursuant to Federal Rule of Civil Procedure

41. Defendants have not filed an Answer or moved for summary judgment. No class has been

certified in the Action.

        Because this notice of dismissal is being filed before service by defendants of either an

answer or a motion for summary judgment, Plaintiff’s dismissal of the Action is effective upon

filing of this notice.


Dated: July 11, 2018

                                             PAVLACK LAW, LLC

                                     By:     /s/ Eric S. Pavlack__________
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